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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                        February 06, 2025
                  UNITED STATES DISTRICT COURT
                                                                        Nathan Ochsner, Clerk
                   SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION

SHALAETHA PRESTON-CAVER                 §
AND QUINTON CAVER,                      §
                                        §
       Plaintiffs,                      §
                                        §
v.                                      § CIVIL ACTION NO. 4:24-cv-4850
                                        §
PRESTIGE DEFAULT                        §
SERVICES, LLC, et al.,                  §
                                        §
       Defendants.                      §

       ORDER STRIKING PLAINTIFFS’ MOTION AND ORDER TO
                          CONFER

       Pending before the Court is Plaintiffs Shalaetha Preston-Caver and

Quinton Caver’s (collectively, “Plaintiffs”) Motion to Compel Discovery and

Leave of Court to Amend Complaint. (ECF No. 14).

       According to United States District Judge Charles Eskridge’s Court

Procedures, a motion on discovery disputes must be acquired through an

initiating letter. Judge Eskridge’s Court Procedures § 15(c). Judge Eskridge’s

Court Procedures provide:

       Initiating letter required. Don’t bring a motion on discovery
       and scheduling disputes without permission.            To obtain
       permission, the party seeking relief must submit a letter not
       exceeding approximately two single-spaced pages. Identify the
       nature of the dispute, outline the issues, and state the contested
       relief sought. Specify the conference between lead counsel and
       summarize the results.
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Id. Here, Plaintiffs did not obtain permission to file a motion on discovery in

compliance with Judge Eskridge’s Court procedures.         As such, the Court

strikes Plaintiffs’ Motion to Compel Discovery (ECF No. 14) and orders the

Parties to confer regarding the discovery dispute in accordance with Judge

Eskridge’s Court Procedures.

      Further, Plaintiffs seek leave to amend their Complaint “to fit any and

all new Evidence presented during the Discovery Process.” (ECF No. 14 at 2).

Plaintiffs’ Motion for Leave of Court to Amend Complaint is premature and is

struck subject to Plaintiffs re-urging their motion. See e.g., Stevens v. St.

Tammany Parish Gov’t, No. 20-928, 2020 WL 13601378 at *1 (E.D. La. Sept.

1, 2020) (striking Plaintiff’s motion for leave to amend as premature for other

reasons). The proper procedure is to engage in the discovery process and re-

urge the request for leave to amend the complaint when there is a basis to do

so. As such, the Court strikes Plaintiffs’ Motion for Leave of Court to Amend

Complaint. (ECF No. 14).

      It is SO ORDERED.

      SIGNED in Houston, Texas on February 6, 2025.



                                            ______________________________
                                                  Richard W. Bennett
                                            United States Magistrate Judge


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